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27

participate in, quovce, “The Four Agreements,”

unquote, a component of the Stay Out of Prison

program. July y2t) +02, laudatory chrono, E.
Hobbs, H-O-B-B-S, floor officer, assigned as EOP
aid, commended for his assistance and diligence.
July 12, ’02,
“Mr. Mackey alerted staff that an ROP
inmate was down and required medical
assistance. As he was performing his
assignment, he heard a strange sound
coming from the lower section shower,
went to investigate. Upon arriving
at the shower, Mackey found the EOP
inmate lying on the shower floor,
covered in blood. He immediately
alerted staff to what was happening,
allowing us to respond promptly.
Mr. Mackey’s alertness and diligence
possibly saved the inmate’s life and
should be recognized.”
Pwo chronos related to the paralegal studies course
and authorization to receive books. A laudatory
chrono, N. Andrews, A-N-D-R-E-W-S, psych tech,
January 224° 104, assigned to EOP, commended for
assistance and extraordinary dedication to his
assignment and to the inmate participants in the

EOP program.
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“Personal attention Mr. Mackey gives

to individual inmates is far greater

than is expected in EOP. He

demonstrates a genuine desire to see

program succeed. Accomplishes

helping inmates in the program

improve their quality of life through

talking, listening, and generally

making himself available to these

mon. He has the ability to gain

trust of inmates who are new to the

program and are going through times

of adjustment, which takes a great

burden from staff, allowing us

greater freedom to do our jobs. His

hands-on approach is very effective

and should be a model. for other

inmates in this position.”
And this is part of your vocation, M. Sandoval,
S-A-N-D-O-V-A-L, vocational instructor, June 24°",
‘04, successfully demonstrated and completed all
Criteria pertaining to safe refrigerant handling
and recoveries mandated by EPA Section 608 of the
Clean Air Act of 1990. Inmate’s test scores
gGualify him for rating as universal certified
technician. And verification of your high school

diploma, L. Bernardo, B-E~R-N-A-R-D-O, August 3,%
Case 2:07-cv-00347-ALA Document 1,4, Filed 01/13/07 Page 3 of 92
1 of '04, East Union High School. Another chrono by
2 Protestant Chaplain Barham, 9/30/04, successfully

3 completed 40 Days of Purpose Bible study.

4 “Forty Days of Purpose is based on
3 . the best selling book A Purpose
6. Driven Life. The program is small
7 group, hands on, in-depth study.
8 Purpose one, your plan for God’s
9 pleasure, two, form God's family,
10 three, create and become jike Christ,
11 four, shape for serving God, five,
12 . you were made for a mission.
13 Mr. Mackey’s participation has been

é 14 very valuable to the other men.

15 (Inaudible) the five purposes for
16 life the God apply them to his life
17 and use them and encourage others.
18 Serious, well-grounded man of God.
19 His insights, pleasant attitude, and
20 renewed mind demonstrate a positive
21 change in his lifestyle. Tt brings
22 honor and glory to God.”
23 Another chrono from Pastor Barnham dated November.
24 15°. of '04, a 40-week course entitled The Purpose
25 Driven Life. And I note your. certification of
26 completion in heating, ventilation, air

27 conditioner, refrigeration, October 1, 2004. A
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1 certificate as technician for stratosphere ozone
2 completion certification. Don’t have a date on
3 that. Bet it looks like you have a paralegal

4 foundation course, July 23, ‘03, through 4/06/04.

5 And tnat’s dated June 9t of ’04. Is there an

6 expiration date on this stratosphere ozone

7 compleLion? Okay. So it’s just a universal

8 certification. It goes with the chrono I read.

9° INMATE MACKEY: Yes.

10 DEPUTY COMMISSIONER DININNTI: All right.

11 And several certificates for components leading up
12 to your completion in air condition. Is there

13 another trade that I missed?

14 INMATE MACKEY: No, there isn’t.

15 DEPUTY COMMISSIONER DININNI: Okay. Very
16 good. With that I’ll go to the progress report.

17 There's no information noted from the Board Report

18 for post-conviction for me to note. Counsel might
19 decide otherwise. The Board Report was prepared by
20 Christian, H., Christian, C-H-R-1-S-T-I-A-N. And
21 that was for 2004, December calendar. Progress

22 report, most recent one, remained in vocational air
23 condition and refrigeration assignment October 8,
24 2004, when he was unassigned due to completing a

25 program completed with all satisfactory marks, CDC
26 128 (e). Assigned program aide for enhanced

27 outpatient program facility-B, 10/16/04, received
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on

three laudatory chronos during the review period,
13-week study program Breaking the Cycle chrono
dated 12/01/04, 40-week course for preserving life.
We talked about successfully completed 40 days of
purpose. We talked about that chrono. And I’11
open for you to discuss any other asSignments you
want to point out, because I only went over the
recent ones. Okay. With that, I’m going to go to
the psych report that’s authored by K. M. Mahoney,
M-A-~H-O-N-E-Y, Ph.D., contract psychologist,
November 17°", 2004. In risk for violence,

“Mr. Mackey was a high functioning

individual in the community and has

continued to be a high functioning

inmate. He has no juvenile history,

no substance abuse history, and has

been an excellent programmer with

coc. Outwardly, he has both the

abilities and interpersonal skills

for a successful parole. In this

case, dynamics lie within the crime

scenario and to the extreme and

violent lengtns to which Mr. Mackey

was willing to go for personal gain

and recognition. On interview,

Mr. Mackey attempted to mitigate his

responsibility for his own actions by
Case 2:07-cv-00347-ALA Document 1-4 5 1Filed 01/13/07

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Mr.

factors, any gaps you’d like to fill, corrections

Mackey or Counsel,

shifting blame onto others as noted
in section three. In my opinion,
Mr. Mackey poses a moderate risk for
reoffense if released to the
community at this time. In
conclusion, James Oliver Mackey is a
40-year-old African-American inmate
convicted of Penal Code Section 187,

murder in the first degree for murder

for hire that occurred in 1989. No
juvenile history. No prior criminal
record. No substance abuse issues.

When in CDC he has been an excellent
programmer with only one 115 that was
for norseplay. CDC work evaluations
have ranged from satisfactory to
exceptional and most often being
placed at exceptional. Due to the
mature of the crime, Mr. Mackey’s
inability to take full responsibility
for it, it is my opinion Mr. Mackey
poses a mocerate degree of risk for
violence as a calculated preplanned
means to.an end if released to the

community at this time.”

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regarding post-conviction
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you'd like to make?

ATTORNEY MONTGOMERY: I was unclear as to
what the psychologist actually meant in that last
sentence. It didn’t make a great deal of sense to
me. The only other thing that IT would point out is
that under the Axis I and Axis II, No Diagnosis was
offered. And I’m going to address that more in my
closing, this report as well.

DEPUTY COMMISSIONER DININNI: All I can do
is restate it.

“Due to the nature of the crime, and

Mr. Mackey’s inability to take full
responsibility for it, it is my

opinion that Mr. Mackey poses a

moderate risk for violence as a

calculated preplanned means to an end

if released to the community at this

time.”

I can’t put what the person means by it. All I can
conclude is reiterating the risk fer violence,
because the statement 1s somewhat mitigated, and
she outlined section three, which is the crime.

And the crime was a calculated preplanned means to
an end. So all it says here is a moderate risk to

reoffend. And that’s without my adding anything to

what she stated.

ATTORNEY MONTGOMERY: Right.
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DEPUTY COMMISSIONER DININNI: I’m just
referring to her risk for violence. Looks like a
restatement to me. The Panel member could take it
in a different way. Anything further?

ATTORNEY MONTGOMERY: No. Thank you.

DEPUTY COMMISSIONER DININNI: With that I’1ll
return to the Chair.

PRESIDING COMMISSIONER WELCH: Okay. Thank
you. Okay. Mr. Mackey, let’s talk about your
parole plans. In case you receive a parole date,
tell the Panel where you’re planning to live.

INMATE MACKEY: In Manteca with my wife.

PRESIDING COMMISSIONER WELCH: Okay. And
how are you planning to support yourself? I do
have a letter from your wife by the way.

INMATE MACKEY: I have a couple of job
offers.

PRESIDING COMMISSIONER WELCH: You want to
tell us about them?

INMATE MACKEY: One is a place where my wife
works. It’s California Natural Products. I’d be
working in the warehouse, and The Cottage Bakery in
Lodi where I'd be driving a forklift.

PRESIDING COMMISSIONER WELCH: Okay. Any
other options?

INMATE MACKEY: The reason I took the

heating and air conditioning course is because it’s
NO

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highly, you know, ~~ There's a lot of jobs
available out there in that field.

PRESIDING COMMISSIONER WELCH: Okay.
Anything else you want to tell us about your
employment plans before I go to your letters? You
do have letters, and you do have some job offers
here. Okay. Then I’ll go to your letter. You
have a letter from Janet. Who is Janet?

INMATE MACKEY: My wife.

PRESIDING COMMISSIONER WELCH: Wife. Okay.
Janet Mackey. Is that correct?

INMATE MACKEY: Uh-hmm.

PRESIDING COMMISSIONER WELCH: And she
writes,

St would like to start by thanking

you for taking the time to read my

letter requesting the Board toa

release my husband James Mackey.

James and I have known gach other

since 1977 when James was only 12

years old. J saw James grow from a

young man to aman I fell in love

with and married 1l years ago. Our

relationship grows stronger every

year, and we look forward to spending

the rest of our lives together.

James has brought the best qualities
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1 Out in me, and we have become a very
2 strong Christian family. James is

3 very close to my two children, and

4 they love him very much. Our entire
5 family gives James the ‘support he

6 will need both financially and

7 emotionally when he comes home.

8 James did change everyone’s life

9 around him, but.not more than it

10 changed his life. It was devastating
11 and unbelievable that such a

12. wonderful, intelligent young man, and
13 someone who had the future in his

14 hands could actually commit the act
15 he did. No one is sorrier for his

16 acts than James and would turn back
17 the clock if a second chance -- if he
18 could. I feel and pray for the

19 victim’s family often. I know James
20 does and hope that they have it in

21 their hearts to forgive James. I
22: have met one person that doesn’t

23 think James is a -- I haven’t met one
24 person that doesn’t think James is a
25 wonderful person. He have impacted
26 his qualities on so many people. As

27 our home is still in town we grew up
Case 2:07-cv-00347-ALA Document1-4, Filed 01/13/07 Page 11 of 92
1 in, so many people are looking

forward to nim coming back into the

No

3 community. vames was a4 college
4 graduate when he entered the prison
5 system, and James has continued his
6 education while in prison through
7 correspondence classes and, of
8 course, courses offered to inmates.
9 When James is released, he will
10 already be employed and be able to
il] contribute and support our family.
12 When James is released, he will
13 reside in our home, and that’s in
14 Manteca. I thank you so much for
15 taking the time to read my letter,
16 and I hope you find it in your hearts
17 to see James -- who James really is,
18 a best friend, a lover, a carrying
19 husband, a wonderful father, and a
20 friend to so many people. Please
21 feel free to call me if you have any
22 additional questions. Janet Mackey.”
23 That was from your wife. Lee Denaca?
24 INMATE MACKEY: Lana.
25 PRESIDING COMMISSIONER WELCH: Lana. Lana
26 Mackey, that’s L-A-N-A Mackey. She writes you a

27 very supportive letter. That's from your niece.
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1 And you have another support letter from Kenneth
Z2 Elkridge.

3 INMATE MACKEY: Eskridge.

4 PRESIDING COMMISSIONER WELCH:

E-S-K-R-I-D-G-E. That’s your brother?

cn

6 INMATE MACKEY: Yes, Sir.

7 PRESIDING COMMISSIONER WELCH: He writes you
8 a very supportive letter. He feels that you have

9 had the opportunity to find redempticn and redeem
10 your errors, and that he loves you very much and

11 he’s willing to support you. And he feels that you
12 would be a benefit to society. LT have another

13° letter from your father-in-law Clyde Waller. He

14 writes. you a very supportive letter. He says,

15 “My name is Clyde Waller, the father-

16 in-law of James Mackey. I understand

17 that James will be considered for

18 parole. i have known James since he

19 was in high school and can remember

20 watching him play football in Fast

21 Union High Scnool.”

22 He feels that you’ve been a model inmate, and that
23 you'll do good in the community and have a

24 bachelor’s degree in sports medicine from the

25 University Pacific in his opinion. I have a letter
26 here, I believe, from your former high school coach

27. Jim C. Brown. Mr. Brown writes,
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YT’ ve written this letter as former

teacher and high school football

coach during James’ high school days

and his friend since he graduated

from high school. I recently visited

James in Mule Creek State Prison. In

my opinion, James showed great

contrition for his past and made a

tremendous effort to rehabilitate and

grow as a human being while in

prison. IT feel confident James will

contribute -- will be a contributing

member to society if given the

opportunity. Had I not retired

recently and put my painter’s

contractor's license on inactive

status, I would offer James a job

myself. ft will offer my

recommendation for his employment to

anyone wno asks.”
He feels that you paid your debt to society.
Another letter here from Rebecca (indiscernible)
Williams. She was -- I guess her husband was
James’ -- her husband was Dr. Ronald Williams. I
guess he did some surgery on your shoulder, and
he’s known you. She writes you a very supportive

letter also. Hamilton L. Hintz, attorney at law.
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Ts that your ex-attorney?

INMATE MACKEY: Uh-hmm.

PRESIDING COMMISSIONER WELCH: Last name,

the way, is spelled H-I-N-T-Z. He says,

“T was the attorney for Mr. Mackey in
San Joaquin County Court Case numbder
45624, in which he was sentenced to
state prison on or about November 20,
1990, for the term of 25 years to life
for the murder of Lawrence Carnegie
pursuant to a plea and sentence
agreement with the District Attorney
John Phillips. James cooperated with
the investigation and prosecution of
codefendant Michael Blatt, B-R-A-T-T
[sic] -~-”

INMATE MACKEY: “En.”

PRESIDING COMMISSIONER WELCH: B-L-A-T-T.
“-- and testified as a prosecuting
witness in at least two trials in
Alameda County. I attended both

trials as an observer when James
testified and was a witness myself.

Both trials ended with a hung jury,

and the case against Mr. Blatt was
eventually dismissed. Without James,

however, his case would never have

by
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1 been filed, and the person most
2 culpable in Mr. Carnegie’s murder
3 would not have been exposed,
4 arrested, and prosecuted. The
5 agreement I negotiated on James’
6 behalf with John Phillips
7 specifically called for the
8 recommendation that Mr. Phillip [sic]
9 be released on parole upon having
10 served a minimum sentence for first-
11 degree murder. That is two-thirds of
12 the minimum sentence, 16 years, eight
13 months, provided that he was a good
14 prisoner. James’ minimum eligible
15 parole date is January 26°", 2006. He
16 has proved that he has been a good
~17 prisoner. His record, as 1
18 understand, contains only one Cbc. 11s
19 in 1996, and the incident was
20 described as most consistent with
21 horseplay. During James’ years at
22 Mule Creek he have taken many
23 courses, received numerous
24 certificates, and possibly saved
25 another inmate’s life. T visited
26 James in 2004, and over the past 18

27 months have exchanged letters with
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1 him. He appears to have done

2 everything within his power to better
3 himself, abide by the rules, and make
4 the best of a terrible situation.

5 Very few inmates serving an

6 indeterminate sentence get his

7 circumstances. I unequivocally and

8 respectfully urge that you give a

3 date now and that he be released on
10 ‘parole at the earliest possible time.
11 He is unique for a life prisoner for
12 the following reasons: He has no

13 past criminal history as a juvenile
14 or adult. His prison record is not
15 simply good, but excellent. As a

16 high school and college graduate, he
17 has the ability and opportunity for
18 employment and the intelligence and
19 motivation to make it on parole. He
20 is remorseful and accepts

21 responsipility and is accountable
22. both legally and morally for the

23 offense. Finally, James has the

24 recommendation of the elected

25 District Attorney of the county from
26 which he was committed and that he be

27 released on parole upon having served
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the minimum sentence provided that he
has been a good prisoner. John
Phillips wrote to the Board nearly 15
years ago. And without the
cooperation and the prospective
testimony of Mr. Mackey, charges
would not have been filed against

Michael Blatt, nor a prosecution

initiated. Thank you, Hamilton

Hintz.”
Okay. We have an Amanda Gomez. Ms. Gomez writes
you a letter. She said that you would be in need
of employment. She’s offering you employment with

California Natural Products, 11 dollars an hour,

she says, is the expected salary. And Cottage

Bakery,

another job offer. And this is

Mr. Haslebacker, that’s H-A-S-L-E-B-A-C-K-E-R. He

writes you a supportive letter. He says,

“Upon his release, I understand James
will be seeking employment. tT would
like to offer James the opportunity
for a Cottage Bakery -- at Cottage
Bakery as a warehouse forklift

driver. That would be 14 dollars an

hour.”
And this is (indiscernible). They have bakeries,
guess, in Lodi, Sacramento, and Stockton. Is that

1
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1 correct?

2 INMATE MACKEY: Yes, Sir.

3 PRESIDING COMMISSIONER WELCH: James

4 Mitchell, vice president, Creative Research.

5 “i have agreed to provide an

6 employment interview for James

7 Mackey. I do not promise employment

8 will occur. T have offered this

9 interview at the request of a friend

10 who knows Mackey.”

11 And I do have the letter the counselor submitted

12 from the District Attorney back in 1990. However,
13 the District Attorney is here, and he’s already

14 testified as to his county’s position on thea

15 prisoner’s parole.

16 ATTORNEY MONTGOMERY: Commissioner, there

17 were three others. They’re in a packet... There was
18 one --

19 PRESIDING COMMISSIONER WELCH: And I’m going
20 Lo get Lo those.

21 ATTORNEY. MONTGOMERY: Okay.

22 PRESIDING COMMISSIONER WELCH: IT was just

23 covéring the ones that you submitted. And there

24 are some additional one in your packet. Okay.

25 Charisse Mackey wrote you a very supportive letter,

26 and she’s writing this letter on behalf of her

27 uncle. And she noted that you have some very good
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childhood memories and that today at the age of 23
she still have not changed. After relocating to
Southern California she still receives letters,
birthday cards, and short stories from him via e-
mail. How do you send e-mails to her?

INMATE MACKEY: My wife does. I send them
to my wife, and --

PRESIDING COMMISSIONER WELCH: And then she

sends them to her. Okay. I didn’t think prisoners

INMATE MACKEY: No.

PRESIDING COMMISSIONER WELCH: Okay. So she
writes you a supportive letter. Looks like one
from Janet. Did I get Rebecca Williams?

INMATE MACKEY: Yes.

PRESIDING COMMISSIONER WELCH: Here’s one

that I’ve missed. Okay. Rebecca Williams writes
you a supportive letter. She’s writing in support

of your upcoming parole consideration hearing.
“James have been a close friend of our family for
many years. (Indiscernible) when I first saw him
as a patient.” I covered that one.

INMATE MACKEY: Yeah.

PRESIDING COMMISSIONER WELCH: Well, there’s
something else I wanted to say about this, sir.
Phat (inaudible). She said, “I wish that T was

able to offer (inaudible) surgery practice, but
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unfortunately my husband passed away suddenly in
1996. I feel he will be an asset, however,
wherever he has employment.” Vhat’s highlighted.
Did I miss any?

ATTORNEY MONTGOMERY: There was a letter
from a Criner, C-R-I-N-E-R, family.

PRESIDING COMMISSIONER WELCH: Yeah, I saw
that one.

ATTORNEY MONTGOMERY: And the sister-in-law
Robin Cordono.

PRESIDING COMMISSIONER WELCH: I have
(inaudible). The Criner family. Here it is.
Eric, Angela, Erica, and Angela, the Criner family.
They wrote you a very supportive letter.

“This letter is submitted on behalf

of James Mackey, and I’ve known

Mackey since 1969. I've always

thought that James would some day be

a real asset to his community. And I

feel James can love, respect, and

honor his fellow man and become a

productive citizen while in prison.

He had furthered his education.”

She talks about all the things that you’ve done in
prison. “And we look forward to seeing him soon.”
And the other one was from who now? James

Mitchell?
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ATTORNEY MONTGOMERY: Robin Cordono, the
sister-in-law. It’s handwritten.

PRESIDING COMMISSIONER WELCH:
(Indiscernibie).

ATTORNEY MONTGOMERY : Yes, that’s it.

PRESIDING COMMISSIONER WELCH: Okay. Robin
Cordono. And she’s known you for 24 years, and you
attended high school together. “When James went on
to college at UOP, 1 felt he would pursue a career
as a professional football player.” And she was
shocked and saddened when she discovered he was
sent to prison. Basically, she’s writing you a
supportive letter. She supports you
unconditionally, spiritually, and financially in
your preparation for the future. Did I cover them
all, Counsel?

ATTORNEY MONTGOMERY: I believe you did.
Thank you.

PRESIDING COMMISSIONER WELCH: Quite a few
support letters. Ouite a few job offers. And I
have most of the ones that you submitted already in
the file. Okay. Anything else about parole plans,
Counsel, before we move on to 3042 notices?

ATTORNEY MONTGOMERY: No, I think that you
have covered those. Thank you.

PRESIDING COMMISSIONER WELCH: Thank you.

Okay. We sent out notices pursuant to Penal Code
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1 3042. We sent those out to different agencies that
2 would have an interest in your case to include the
3 District Attorney’s office, the Attorney General's
4 effice, law enforcement agencies that had
5 jurisdiction, your attorney at the time. And I
6 should have read ycur attorney’s at the -- during
7 this portion, but I read it: as your support,
8 because your attorney did respond, and to the judge
9 that presided in your case, and we sent letters out
10 to victims. So in summary we received. .a letter
11 back from your attorney, and we received letters
12 from several victims. And at this time T’ 11 go
13 over the victims’ letters. And we have the
14 District Attorney here from San Joaquin County who
15 have opted not to participate in the hearing today.
16 But we did receive the letter and your documents.
17 Okay. Charles Shrewsbury wrote a letter, He says
18 -- And his last name is spelled

19 S-H-R-E-W-S-B-U-R~-Y. He writes a.letter. He says,

20 “T’'m writing this letter in regards
24 to the parole hearing of James

P22 | Mackey. He was convicted of

23 murdering Larry Carnegie, my brother-
24 in-law. Based on the circumstances
25 of this case and the severity of the
26 crime, ET would respectfully urge you

27 not to release Mr. Mackey from prison
Case 2:07-cv-00347-ALA Document 1A, Filed 01/13/07

now or at any time in the future.

Mr. Mackey plotted to murder Larry
Carnegie in cold blood and
premeditated. This was not a crime
of passion, not an accident, nor a
mistake. This was nothing less than
murder in the first degree.

Mr. Mackey purchased a crossbow at a
sporting goods store for the sole
purpose of killing his victim. He
had ample time to consider and
carefully weigh the consequences of
his-actions. He made the choice,
which was a clear and unobstructed
thought process. James Mackey
ambushed Larry Carnegie, shooting him
in the back with a crossbow, stuffing
him into a trunk of a car, and later
strangling him. This Lie in wait not
only illustrates the clarity of
Mackey’s intent, but it also
underlines the cunning mindset of

Mr. Mackey and the outright prutality
of his crime. On that day,

Mr. Mackey clearly demonstrated his
own bitter disregard for human life.

When Mr. Mackey murdered Larry

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1 Carnegie, I lost a dear loving family
2 member and a friend. My sister lost
3 her husband. Even more devastating,
4 my three nieces lost their father

5 forever. Mr. Mackey brutaily and

6 clearly, intentionaliy -- intentional
7 crime has devastated our family

3 deeply, cragging down to emotional

9 depth of grief, loss, and despair.

10 The destruction which Mr. Mackey

11 wreaked upon our lives can never be
12 undone. The three little children

13 was robbed of their father, their

14 loving father, I should say, by

15 Mr. Mackey’s savage and inhumane

16. action. To set free such a dangerous
17 and violent criminal would be an

18 outrage of justice. It would not be
19 fair to the victim, Larry Carnegie.
20 Tt would not be fair to Larry’s wife,
21 his daughters, family, or his
22 friends. And further, it would not
23 be fair to American public to have
24 such a dangerous murderer throughout
25 our midst. Please do not give
26 Mr. Mackey the opportunity to kill

27 once again. The facts of this case
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1 clearly and painfully demonstrate the

2 (indiscernible) savagery of which

3 Mr. Mackey is capable of. In the

4 interest of justice and safety for

5 our community, I respectfully request

6 that you do not release James Mackey

7 from prison now or at any time in the

3 future.”

9 We have another letter here from Parents of

10 Murdered Children Incorporated. And it have just
11 an array of signatures on it, and it says, “We the
12 undersigned strongly oppose the parole of James
13 Mackey. Justice demands he serve the full prison
14 term given to him at the time he was sentenced.”
15 Another letter here from Parents of Murdered

16 Children. “Enclosed is a copy of the hearing for
17 James Mackey who was one of the killers in the

18 crime.” Okay. And here’s the attachment. This
19 letter is from Vince J. Carnegie, brother of

0 Lawrence Jaseph Carnegie. It says,

21 “br am the youngest brother of

22 Lawrence Carnegie who was murderea by

23 James Mackey and Carl Hancock. They

24 claim they never knew my brother, and

25 they did it as a murder for hire.
26 Their guilt is undeniable by the

27 evidence, and they confessed to the
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1 first-degree murder. In case you are
2. not familiar with the details of the
3 murder, IT will inform you my brother,
4 devoted husband, father of three
25 children under five years old at the
© time, was set up for murder in a cold
7 blooded, calculated way. The murder
8B scheme was in the works for many
9 weeks. In fact, the murderer set my
10 brother up for weeks in advance by
11 befriending him and pretending to be
12 ‘interested in buying real estate.
13 They knew that he had children and a
14 wife, and he talked of them all the
15 time. They lured him to a remote
16 location and shot him in the back
17 with a bow and deadly arrow.
18 . Unfortunately, they were not inept.
19 He did not -- Unfortunately, they
20 were so inept, he did not die and
21 tried to fight for his life. They
22 stuffed him a sleeping bag and threw
23 him in the back of a trunk of a car.
24 They drove him for three hours to a
25 remote mountain road as he struggled
26 for life, profusely bleeding to

27 death. After three hours of
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bleeding, they opened the trunk and
realized that he was still alive.
Being the smart guys that they are,
they took a piece of rope and
strangled him to finish off the kill.
They then dumped is body over the
road bank. What a ilovely story.

It’s the story my family and I get to
live with every day of our lives.
It’s the story I never told his
teenage daughters. It’s the story I
will never tell my children who will
never gee to meet my brother and
their uncle. It’s always been the
story they told to tne orosecuting

attorney when they were granted a

plea bargain agreement for their

testimony against the guy who
supposedly hired them to do the
murder. After two years of court
cases, of which I spent hundreds of
hours, agonizing hours, their story.
of murder for hire was not good
enough to convict the supposedly
point man. How will we ever know the

truth of it. Tt seemed to me that if

their testimony could not convict the

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1 point man, maybe there never was a

z point man. Maybe the murder was just

CO

for fun. Maybe they did it for

4 (indiscernible). Maybe they made up

uw

che story to save themselves from

6 deatn row. Maybe. Maybe. Maybe.

7 The murder facts are clear and

8 calculated and shows premeditation

9 over a long period of time, plenty of
10 time to realize that the heinous

11 crime against my family and society
12 as a whole is wrong, plenty of time
13 to realize not to do it. They chose
14 to murder of their own free will. No
15 amount of rehabilitation will change
16 their willingness to commit murder so
1? easy and so calculating. The

18 ' physical and paper trail evidence

19 against them was overwhelming. Now
20 they want to be released after 16

21 years, merely 16 years. Why. Why.
22 For that purpose to go kill some more
23 folks, to live a normal life, to

24 enjoy the free life, to stop their
25 suffering in jail. They lost their
26 right with the cold-blooded murder of

27 my brother. They should be on death
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row, and they definitely should stay

in prison. My brother is rotting in
his. grave. They have no right to
freedom. They lost that when they
murdered my brother. Io could go on

and on and on of all cf the lives
dramatically effected by the loss of
my brother. Literally hundreds of
family members from states like
California, Oregon, Washington, Ohio,
Pennsylvania, Arizona, numerous
friends. and business associates,

church activities, community

volunteers, Christmas, Easter,

Thanksgiving, July 4°", Carmel
vacation, Lake Tahoe ski trips, water
skiing on the Stockton delta,
whitewater rafting, family vacation,
Hawaii trips, shopping in San
Francisco, sports fishing in Baja,
family life raising kids, three
beautiful daughters growing up
without their father, explaining to a
five year old why daddy is not coming
home, watching my 67-year-old father
and 66-year-old mother crying for

this time in their life. I was 29
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1 years old when the murder occurred.

2 I need to go on. Tne damage done by
3 this murder is overwhelming. Sixteen
4 years in prison for a cold-blooded,

5 calculated, premeditated murder is a
6 joke. Their premeditated murder

7 caused immense pain and damage to our
8 family members. Our only solace is

9 knowing they are in prison. We are
LO (indiscernible) to Let them out of

11 prison. They should never be set

12 free. Protect the freedom of

13 upstanding citizens of the state of
140 California. Give justice to the

15 family, which the court and

16 prosecuting attorney failed to do.

17 The facts are indisputable. He

18 murdered my brother by premeditated
19 lying in wait. Let our family have
20 some measure of peace. Keep him in
21 jail. Respectfully, Vince Carnegie.”
22 I think I covered all the 3042 notices. And with
23 that --

24 , Thereupon, the tape was changed. |
25 DEPUTY COMMISSTONER DININNI: We’ re back on

26 the record. Did you get a copy of Bruce G. Troy,

27 D.S.°?
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PRESIDING COMMISSIONER WELCH: yes, T’il

2 read it. Thank you. And this is a letter of
3 opposition from Bruce G. Troy, D.S., writing in
4 regards to parole of James Mackey.

5 ST feel that Mr. Mackey should not

6 have earned parole since he has no

7 regard for the life and suffering of

8 my friend Larry. warry was a father

9 of three small daughters who have

10 been robbed of their father. Unlike
11 Mr. Mackey who will be released from
12 prison and be able to resume his

13 life, they will never have their

14 father again. Mr. Mackey has not

15 taken responsibility for the brutal

16 murder. He. blamed the other people

17 anvolved. He has shown no remorse.

18 Mr. Mackey thinks Larry's friends and
19 family should just forget Lt

20 happened. We will never forget Larry
21 or the hardships on his family.

22 Please do not give James Mackey an

23 earlier parole. Larry will never be
24 given the chance to see his daughter
25 grow up and enjoy the life he should
26 have had. Bruce Troy, D.Ss.”

27 DEPUTY COMMISSIONER DININNI: And since
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1 we’re considering November 20, 1990, John Phillips,
2 District Attorney letter. I’d like to note

3 November 7°", 1994, California legislature, D. Neff
4 and Dahl (phonetic), assemblymen, seventeenth

5 Gistrict, current assemblymen representing San

6 Joaquin County.

7 “I wish to register my strong

8 opposition of granting parole to

9 Inmate James Oliver Mackey who’s

10 currently serving a life tern. This
Li inmate will be eligible for parole

12 here in December 2004. Represents

13 . substantial risk to people of my

14 community. I strongly believe that
15 public safety concerns and the nature
16 of this inmate’s crime demand that he
17 continue to be incarcerated. Please
18 note the Stockton and the rest of San
19 Joaquin County suffered

20 (indiscernible) violent crime rate.
21 And this inmate’s release would be
22 likely to aggravate these conditions
23 . further. Please place this letter in
24 your files for review by BPT when
25 parole is considered for this inmate.
26 Sincerely, D. Neff and Dahl.”

27 ATTORNEY MONTGOMERY: I appreciate your
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reading that into the record. I have no idea why
that would have been put in confidential.

DEPUTY COMMISSIONER DININNI: Not with this
type of letterhead.

ATTORNEY MONTGOMERY: No.

DEPUTY COMMISSIONER DININNI: Mr. Phillip’s

letter is in confidential based on the testimony in

trial. That’s noted. It’s not confidential to
Mr. Mackey. It’s just confidential. Don’t want it
floating around. So that’s understandable. But

this one, I don’t understand.

PRESIDING COMMISSIONER WELCH: Any others?

DEPUTY COMMISSIONER DININNI: There’s
approximately 13 opposition letters noted here.

And I believe they’re only here for addresses.

PRESIDING COMMISSIONER WELCH: And we will
consider those during deliberation. And with that,
Commissioner, do you have any questions?

DEPUTY COMMISSIONER DININNI: T’d like to
note that several of these letters are duplicate to
the one’s he read on the record. so it’s not
necessarily an additional 13.

PRESIDING COMMISSIONER WELCH: Okay.
Anything else?

DEPUTY COMMISSIONER DININNI: No questions.

PRESIDING COMMISSIONER WELCH: District

Attorney, do you want. your turn back?
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DEPUTY DISTRICT ATTORNEY BLANSETT:

Actually, I am interested in just one thing. I’ve
néver seen a copy of John Phillips’ letter. He
didn’t give mé a copy at the time he wrote it. And

I was kind of hoping that there would be a copy in
the material I got, and there was no copy there
either.

PRESIDING COMMISSIONER WELCH: We can give
you a copy. Anything else?

DEPUTY DISTRICT ATTORNEY BLANSETT: No,
that’s it. As I’ve indicated to the Board before,
my job here is merely to be a representative of the
DA’s office. John Phillips is no longer the DA.
But the current DA gave me authorization to attend.

PRESIDING COMMISSIONER WELCH: Okay. The
officer will make copies and give you a copy.

DEPUTY DISTRICT ATTORNEY BLANSETT: Thank

you.
PRESIDING COMMISSIONER WELCH: You’ re

welcome, sir. And with that, we’ll go to questions

with Counsel. Counsel, do you have any questions

for your client?

ATTORNEY MONTGOMERY : Yes, I do. Thank you,
Commissioner. You provided the counselor with your
version of the commitment offense. Was that in
response to the counselor saying write down what

happened?
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INMATE MACKEY: Yes.

ATTORNEY MONTGOMERY: Regardless of the
circumstances, you indicated that you alone are
responsible for this. Is that correct?

INMATE MACKEY: Yes, it is.

ATTORNEY MONTGOMERY: Do you still accept
responsibility?

INMATE MACKEY: I do.

ATTORNEY MONTGOMERY: The Commissioner was
asking you how you can connect some of the problems
that you’ve uncovered dealing with your past when
you were a child. Isn’t it true that in those
self-help programs they indicate to you that you
need to examine your past to determine how you got
to where you ultimately took a life.

INMATE MACKEY: True.

ATTORNEY MONTGOMERY: Have those programs
been helpful to you?

INMATE MACKEY: Definitely.

ATTORNEY MONTGOMERY: Did the psychologist
indicate to you why she didn’t want to have a
discussion with you about those particular
programs?

INMATE MACKEY: No, not to my knowledge.
She didn’t say anything at all about that.

ATTORNEY MONTGOMERY: Okay. Thank you. T

don’t have any further questions.
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1 PRESIDING COMMISSIONER WELCH: You know, you
2 just reminded -- TI wrote myself a note here to ask
3 you client a question, You can have your turn

4 back. When my colleague went over your

5 psychological evaluation, on a scale of low,

6 medium, and high, she rated you as a medium risk to.
7 society, which is still somewhere in the. middle.

8 Do you have any comments on that? How do you see
9 yourself?

10 INMATE MACKEY: I don’t see myself as --

11 because T’7m. so aware of how to get into this

12 Situations now that my -- I don’t see how it’d be
13 moderate.

14 PRESIDING COMMISSIONER WELCH: When you say
15 you’ re aware of how you get into these situations,
16 what are you referring to?

17 INMATE MACKEY: How I got into the

18 situation. How other -- you know, other inmates
19 around me, how they, you know, get into these
20 things. There are ways to avoid, you know, crimes
21 like these. And like this, just taking a look at
22, yourself and thinking about what you're doing,

23 considering the consequences.
24 PRESIDING COMMISSIONER WELCH: Okay. All
25 right. Counsel, you want your turn back?
26 ATTORNEY MONTGOMERY : Can you think of one

27 particular program that was more helpful than
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others in your self-help programs?

INMATE MACKEY: Basically the first one.
Well, not the first one, but the. Framework For
Recovery. + went in there thinking that, you know,
there’s a lot of guys in there that were drug
addicts and.alcoholics. And 7 had nothing in
common with these people. And I didn’t know what I
could get out of that, just kind of like sitting
there. But what I got from it is just about taking
a look at yourself, learning, you know, to examine
yourself and taking responsibility for your
actions, you know, just every little thing, because

that’s how things Like alcohol and drugs sneak up

on you, if you’ re not paying attention. And that
was a main:'-- the main thing. Once you start
there, (inaudible) you know, once you start taking

a took at yourself, anything's possible.

ATTORNEY MONTGOMERY: You also took an anger
management course. Was that beneficial? Did you
learn a lot of things about the techniques and
identifying anger?

INMATE MACKEY: Just stop and considering
what. you're doing, you know, just taking a second
to stop, walking away, and thinking about the
consequences.

ATTORNEY MONTGOMERY: Okay. I don’t have

any further questions. Thank you, Commissioner.
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1 PRESIDING COMMISSIONER WELCH: Okay. Thank
2 you. And since the District Attorney is not

3 participating, we’li go to you for a closing

4 statement.

5 ‘ ATTORNEY MONTGOMERY: Thank you,

6 Commissioner. As I mentioned earlier, I would ask
7 the Panel to consider that the psycholcgical

8 evaluation is based in part on the statement that

9 - my client gave to’the correctional counselor in

10 . response to the instruction, please write it down.
id This is exactly what he did. He wrote to the

12 psychologist indicating that his detailed

13 description and the interview were the result of

14 his wanting to convey to her the fact that he had,
15 in fact, examined the reasons behind the commitment
16 offense, his actions, and how those events

17 contributed to his thinking and behavior up to and
18 in the commitment offense. Briefly I want to hit
19 on the self-nelp programs, because I know you were
20 concerned about that. You’re unable to -~ or

21 perhaps my client wasn’t perfectly clear in

22 attempting to convey to you that in the self-help
23 groups what they do is they examine, or they assist
24 you in examining your past to make a determination
25 why you behave the way you did in the commitment

26 offense. And it’s a step-by-step process. And the

27 anger management class, and the Framework For
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Recovery is pretty much the same. You've got to go
back. You’ve got to peel away the layers to arrive
at some conclusions and some answers. And while it

is IT think human nature for us to want a response
to the question why, there will never be a raticnal
explanation for what was an irrational act.
Accerding to Title 15, the Board, of course, is
required to consider a number of things. And
certainly my client’s performance in prison is. a
consideration that you will take into
consideration. IT went back, and I looked at the
documentation references by the Deputy
Commissioner. Tt was pretty benign. I saw that
they recommended that Mr. Mackey participate in
some self-help as it became available, and that he
upgrade ina vocational program as needed. But I
think. it was abundantly clear that my client went
beyond ~- well beyond that in many ways. And I)
think that this Panel would agree that his efforts
are significant, particularly at this point in
time. This is his initial hearing. Many people do
not come to the table with this much under their
belt at this time. One of the areas that I look
for when I have a client who has committed a
homicide, I take a look at what they’ve done in
terms of giving back. And think the Panel probably

does as well, in addition to the other things that
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Title 15 requires you to consider. I was not
disappointed in the least. Laubach tutoring
clearly is a program once somebody is trained and
skilled in that area, it affords them a wonderful
opportunity to give back to some pretty needy
people within the institution in terms of helping
them to strengthen their language skills, their
writing skills. My client helped people, and he
continues on an informal basis to do that as well.
You read the chrono .-- Thank you, Commissioner
DiNinni, about the inmate that fell in the shower
and was covered in blood. That particular chrono
dealt very specifically with that incident, and it
provided that my client’s alertness and his
diligence possibility saved this man’s life. I
would have expected that Mr. Mackey would have
delved into the whys as they pertain to this crime.
And I was not disappointed. [I’ve had an
opportunity to sit down with this man and talk
about what he has gotten out of the various
programs. There were a lot to cover today, and
there weren’t a iot of questions asked about then,
but he certainly has an abundance of programs.
That included six months of AA, the Framework For
Recovery. That was a i2-session program.
Understanding your feelings, 15 sessions, House of

Healing program. That includes anger management
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and improving coping skills, dealing effectively
also with shame, guilt, and forgiveness. He’s
graduated from the Tier One, the Tier Two program,
Great Truths of the Bible, completed communication
styles and skills, Four Agreements, a personal
development course in ‘Ol, and advanced parenting
in ‘’02. Also Taking the Limits Off Life, that was
a 12-week program and one that I’m not particularly
familiar with. But I am familiar with one that
followed, which was a 17-week program called
Supernatural Ministries, and a 15-week course
called Breaking the Cycle. Many of those, of
course, were spiritual in nature and overseen by
Pastor Barnham. The most recent group, Purpose
Drive Life, and that was a 42-hour session program,
pretty extensive. I asked Mr. Mackey about his
involvement in these particular programs, and I
came away with the sense that this is somebody that
entered these programs honestly and wanted to learn
about himself. He shared some revealing thoughts
about himself as a result of his participation in

these groups, too, and T’'d like to share some of

those with you. In the Framework For Recovery
program he called that an eye opener. It forced
him to ask very painful guestions of himself. The

parenting program helped him to examine his own

life and how his upbringing shaped his future.
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1 This is what he was sharing with you earlier. He

2 recognized that while he and his siblings were

3 never encouraged tO open up, obviously the

4 consequences can be very, very harmful as emotions
5 are bottled up and is never dealt with or worked

6 through. Tn the anger management program, he

} learned that some of his own anger was actually

8 directed at himself. He learned of new techniques
9 of addressing anger and facing it so that it does
10 not go unaddressed and it does not become

11 unmanageable. From his involvement in these

12 programs, he has learned to open up and

13 communicate. It has also shown him the need to

14 contemplate the consequences of his actions and to
15 ask himself who would be effected by each and every
16 decision that he makes. As you know, academically,
17 my client has a bachelor’s degree. He has

18 continued to pursue his education. We have the

193 paralegal course that he completed in ’04. I don’t
20 recall if you did mention this, Commissioner

21 DiNinni, but in January of this year, he also began
22 to work towards a graduate degree in humanities.
23 The Domingas Hills College offers a wonderful
24 correspondence program that a lot of the lifers

25 have taken advantage of. He’s holding a clerks
26 position, and you’ve heard me say this before, but

27 clearly those individuals that are assigned clerk
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positions are given that assignment because of the
fact that they’ve proven themselves to be reliable
and dependable within the institution. They’re
provided, or exposed rather to a lot of sensitive
information, and not just anybody can take on such
a position. He’s been acknowledged by staff. for
efforts that demonstrate that he goes the extra
mile in his assignment. The recreation therapist
provided that his efforts at designing and
implementing a new system for the tracking of the
EOP inmates, which has proven to be a difficult
thing here, was all done while he was conducting
his regular job duties. They also indicate that
that has made him an asset to the mental health
program. She believes that he would also be an
asset to the community when he paroles. In terns
of disciplinaries, the Board has discussed the one
in the file. The author of that 115 indicated that
the conduct was, in fact, consistent with

horseplay, and that’s exactly what they received

the write-up for. I would add for the record this
was an administrative 115. This is clearly an
exceptional record and one that -- I’m always

pleased to represent a client when they can come to
the Board without any 115s, without any 128s. He's
been able to provide me with what I believe is a

good record. The psychologist this year indicates
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that he is a high functioning individual in this
setting. She also notes that there’s other
Significant criteria that the Board examines in
assessing suitability, no juvenile record and no
substance abuse history. That’s huge, because
probably 90 percent of the cases before you, that’s
exactly what you see in terms of histories. I do
take issue with the psychological evaluation that
was prepared by Dr. Mahoney. And I’11 tell you
why. While she does offer there’s no diagnosis
under Axis IT or ITI, that’s certainly favorable, as
well as the Global Assessment of Functioning. But
she takes issue with my client’s version of the
commitment offense. And I take issue with her
conclusions. She provides that he poses a moderate
risk if he is released and relies upon his
statement for a basis of that conclusion. IT would
expect that a psychologist would acknowledge, or at
least enquire of my client’s efforts that are
encouraged in the self-help and therapy groups when
it comes to facing and delving into one’s past to
help determine the reason behind one’s conduct in
the commitment offense. I saw absolutely no
reference to those efforts, other than a benign
list of his accomplishments. Granted, there are
many. But without outlining them or discussing

them, she offers little. Instead, she indicates
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the he poses a moderate risk if he is released, and
her belief that he displays an inability to take
full responsibility for the crime. ' Those
conclusions do not have a foundation. And IT would
ask the Board to consider that she knew that

Mr. Mackey had turned himself in to the
authorities. That’s in the file. She apparently
gave no weight to the fact that he accepted a plea
and cooperated immensely with the authorities in a
separate prosecution that was associated with his
case. And also missing from her report, which I
think is very telling, is reference to the
Probation Report where on page eight it is stated
that Mackey believes he is to blame for Lawrence
Carnegie’s death, and that he believes he was a
catalyst for this murder. If Dr. Mahoney believes
that a true risk existed, I find it particularly
odd that she specificaily stated she had no
treatment recommendations for Mr. Mackey. I found
it also troublesome that she had the previous
report before her, dates back to 1993. Dr. Martin
prepared that. He concluded that my client was
somewhat vague about the causative factors of his
commitment offense. But since that particular
report, my client has completed no less than 12
different programs, which focused on addressing

causative factors. They’ve been huge. These
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programs had been huge in his life. And yet none
were discussed with him by Dr. Mahoney to ascertain
what he might have acquired. This report is the
exact kind of cénclusicn that you have been
encouraged to disregard by the (indiscernible) task
force. And instead you are urged to consider the
other reliable information before you in arriving
at your decision. Finally, the parole plans, 1
don’t think I could have presented better parole
plans, a piace to live in San Joaguin County, as
well as two job offers. While he has training for
refrigeration and air conditioning, which by the
way he completed that trade at his first hearing,
his initial, many people don’t often get a job
offer in the area that they’re skilled. Stall he
has two iob offers. He has people that have
written on his behalf, and there's a strong
indication that these people will continue to
assist him in his transition in the community. In
closing, Mr. Mackey was offered a plea by the
District Attorney of San Joaquin County. It was
accepted by Mr. Mackey, and it was accepted by the
court. Mr. Mackey would have proceeded to trial if
this plea agreement had not been offered. And the
plea in no uncertain terms provides that the DA
recommends that the Board release Mr. Mackey at the

earliest possible time upon having served the
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minimum sentence for first-degree murder. The MEPD
has been established at January 29°° of '06. This

contract, which was signed by the District

Attorney, Jonn Phillips, and signed by Mr. Mackey

and his counsel was also acknowledged by the
Board’s then executive officer. While this
particular hearing is administrative in nature, it
is also a continuation of the criminal process.
And as such 2 am respectfully requesting this Panel
to honor that agreement and sect a release date at
this time. And with that If will submit.

PRESIDING COMMISSIONER WELCH: Thank you for
your comments, Ms. Montgomery. At this time,
Mr. Mackey, you can make a closing statement, or
you can let your attorney’s statement be your
closing statement.

INMATE MACKEY: I’1l let her statement be my
closing statement.

PRESIDING COMMISSTONER WELCH: Okay. Then
we'll go to victim impact statements.

DEPUTY DISTRICT ATTORNEY BLANSETT:
Mr. Commissioner, if I may just for a moment, I’m
not going to make any statement whatsoever contrary
to the negotiations that were reached between
Mr. Hintz and Mr. Phillips, but there are some
misrepresentation. And I’m sure it’s based upon

the stated facts as Counsel understands it that
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1 have been made to this Board that I think are very
2 important. One is that this was not a contract

3 that was meant to bind in any way any commission

4 regarding how they saw Mr. Mackey and --

5 PRESIDING COMMISSIONER WELCH: And. we

6 thoroughly understand that.

7 DEPUTY DISTRICT ATTORNEY BLANSETT: Pardon?

8 PRESTDING COMMISSIONER WELCH: We thoroughly
9 understand that.
10 DEPUTY DISTRICT ATTORNEY BLANSETT: Okay.

11 PRESIDING COMMISSIONER WELCH: The District

12 Attorney cannot bound the Board.

13 DEPUTY DISTRICT ATTORNEY BLANSETT: And that
14 never, never the intent of tne negotiations to bind
15 --

16 PRESIDING COMMISSIONER WELCH: We understand
17 that.

18 DEPUTY DISTRICT ATTORNEY BLANSETT: The

19 other thing that Counsel made reference to, and

20 that is that Mr. Mackey turned himself in. That

21 ‘was not the stated facts.

22 PRESIDING COMMISSIONER WELCH: Now we’re

23 getting into an area where -- Hold on Counsel.

24 We’ re getting into an area -- normally if the

25 District Attorney is going to make comments, it’s
26 before Counsel speaks. And then afterward Counsel

27 can address any issues that she might address.
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DEPUTY DISTRICT ATTORNEY BLANSETT: I agree
with the Commissioner. The only reason I spoke up
was because what 1 perceived to be information
being presented to the Commission that was not the
true stated offense.

PRESIDING COMMISSIONER WELCH: Well, let me
ask you this.

DEPUTY DISTRICT ATTORNEY BLANSETT: Yeah.

PRESIDING COMMISSIONER WELCH: Do you want
to make a closing statement?

DEPUTY DISTRICT ATTORNEY BLANSETT: Not
contrary to the negations that were made in the
case.

PRESIDING COMMISSIONER WELCH: Let's do
this. [I’ll let you speak, and I’1li give Counsel
her turn back.

DEPUTY DISTRICT ATTORNEY BLANSETT: That’d
be fine.

PRESIDING COMMISSIONER WELCH: Okay.

DEPUTY DISTRICT ATTORNEY BLANSETT?: Ther

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were -- Actually, the three important areas, I’ve
covered one, and the Commissioner appears ko
understand the state of the negotiations. In
regards to Mr. Mackey, Mr. Mackey did not turn
himself in to authorities in the sense that he
found out they were investigating hin, and

therefore, turned himself in. He actually was
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brought in for questioning. He made a statement,
initial statement that implicated himself in the
murder as an accessory, which used to be called an
accessory before the fact. Now it’s a principle in
the commission of the murder, but denied any
involvement in the actual murder. Mr. Mackey then
agreed to cooperate with law enforcement. And
having a wire attached to his body, he went in to
Mr. Blatt’s office with the idea that he was going

to get Mr. Blatt to implicate himself in the

murder. But what Mr. Mackey did, unfortunately,

was to alert Mr. Blatt to the fact that he was
wired, which caused Mr. Blatt then not to implicate
himself, plus not to implicate Mr. Mackey any
further than Mr. Mackey had already implicated
himself. Mr. Mackey at that point then after he
did that, went to a local attorney, Bud Marks, who
then called me up and said that Mr. Mackey now
wanted to turn Aimself back in and cooperate fully
with us. And at that point, Mr. Mackey then was
taken into custody. So in that sense, he did turn
himself in at that point, but that didn’t consider
the activities that occurred before that time.

PRESIDING COMMISSIONER WELCH: Okay.

DEPUTY DISTRICT ATTORNEY BLANSETT: The
otner issue, which to me is an important one in

terms of correcting the facts, and I would say
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this, I worked with James Mackey, probably spent
more time with James Mackey than any male ever
spent with him in his entire life, probably
unfortunately including his own father. I got to
know him very well. He. gave me a full statement of
the entire case. Mr. Mackey’s statement to me was
that he went back to the trunk. That he took the
rope, and that he aided in the strangulation of
Larry Carnegie. When he testified at trial, he
testified that he went back there, took the rope,
and then went back to the car. So I was very
disappointed when I read his statement in the
material that was presented to me, because that’s
not what the state of the evidence was either to
me, or as presented at trial by he and Carl
Hancock. Sa those are the. three areas I felt the
Commission needed some clarification. But again,
that’s not in any way to go back on tne deal that
Mr. Phillips made. They’re merely to clarify those
areas for the Commission.

PRESIDING COMMISSIONER WELCH: Okay. You
know, and pursuant to Penal Code 3204, the District
Attorney nave a right to appear. And whatever
grievance that the District Attorney’s office may
or may not make, as far as I’m concerned, it’s not
-- it’s between the District Attorney and the

inmate. But, however, in the interest of hearing
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this, I will give Counsel her turn back --

DEPUTY DISTRICT ATTORNEY BLANSETT: Yes.

PRESIDING COMMISSIONER WELCH: -- to
addendum her closing statement.

ATTORNEY MONTGOMERY: Thank you, The
District Attorney wants to Suggest I made
misrepresentation. My client has provided his
version of the commitment offense. And I believe
it is on page four where he does make reference to
having turned himself in. If we’re arguing
semantics here, be that as it may, he did
ullimately turn himself in. He believes that this
is -~- he says this is not a contract. Well, I’ve
got a separate piece of paper that Says contract
right here at the top of it. And it’s abundantly
clear what the District Attorney’s office was in
this particular case. Anca I would also submit to

the Panel this was, in fact, a plea and an

agreement that was accepted by the court. And we
are all bound by the court’s decisian in tnis
matter. I believe we are also bound by this

agreement.

PRESIDING COMMISSIONER WELCH: Okay. Thank
you very much, Counsel. And you have no closing
statement, Since I gave everyone else their chance
back?

INMATE MACKEY: Mr. Blansett. said that TI
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didn’t turn myself in. TIT was sitting at home when
I spoke to my attorney. And he said, well, James,
you can run, or you can turn yourself in. He said,

if you want to turn yourself in, ‘come over, I’11
drive you down to the station. And that’s what we
did.

PRESIDING COMMISSIONER WELCH: Okay.
Anything else?

INMATE MACKEY: That’s all I have.

PRESIDING COMMISSIONER WELCH: Okay. At
this time we'll go to victim impact statements.
Who will be making the first victim impact
statement?

MS. K. CARNEGIE: Karen Carnegie.

PRESIDING COMMISSIONER WELCH: Will you.
state -- Well, you already stated your name. Just
go ahead and make your statement.

MS. K. CARNEGIE: Okay. I first met Larry
when I was 22, and it was at a real estate seminar,
and I was working with my parents in Medesto. And
Larry had so much going for him. He graduated from
UOP pharmacy school. He was athletic. He had a
lot of friends, and he was a hard worker. And
after we met, we always went to church together.
Our honeymoon was a trip around the world, and we
were gone almost three months. And when we came

home, I didn’t think I could adjust to time apart
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from him. We were best friends, and we wanted to
work together and be together all the time. We
owned a real estate office together. And before we
had any children, we opened our home to foreign
exchange students. And from that experience I saw
that Larry was an excellent father. When we-did
have children, we had three daughters, and they're
all two years apart. And we planned to have four,
but in 1988 we both decided that four was not
enough, and we decided that we wanted six children.
We always planned and we dreamed our future. My

parents have been married over. 50 years, and

“Larry’s parents are married more than 50 years. We

had a wonderful, faithful marriage, and he was
truly my best friend. James Mackey planned and
executed the murder without ever knowing Larry.
James Mackey had plenty of time’to think it over
and decide not to do such a horrible thing as
murder, which has permanent and lasting
consequences. ‘He weaved such a web of deceit that
two juries could not unanimously agree. He has
been in prison for 16 years, and so have I. My
mind goes on as long as I live, when I’m awake and
when I’m asleep. Our children have suffered
terribly. Telling my soon-to-be five-year-old
daughter that her father was dead was like 3

matador thrusting the blade into the bull’s neck.
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wy words caused her little head to fall. T’il
never forget the anguish and then the depression
that besieged our family. Two of our children are
plagued with emotional problems directly related to
the murder. They have anxiety and feelings of
abandonment. One is in therapy, and the other one
should be, and not to mention all the growing up
years without their father to see their school
activities, their sports, the holidays. And I've
been so busy working to support them, my children,
in the last five years I added a second job to pay
for their college. What James Mackey did has
caused us unspeakable grief, and he did it
willingly and of his own free will with much
forethought and planning. It was no accident, and
it was not a crime of passion. It was a cold-
blooded, calculated murder, the most serious crime.

PRESIDING COMMISSIONER WELCH: Thank you.
Thank you for your comments. Who’s the next person
thal’s going to speak?

MR. CARNEGIE: Tom Carnegie.

PRESIDING COMMISSIONER WELCH: What’s your
name, sir?

MR. CARNEGIE: Tom Carnegie.

PRESIDING COMMISSIONER WELCH: Okay. Now
proceed.

MR. CARNEGIE: My name is Tom Carnegie. I’m
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Larry’s older brother. We were roommates and
playmates for 18 years. We played badminton and
basebail in the back yard, countless hours of
Checkers and Monopoly indoors. We attended the
same parochial schools. We were both active in boy
scouts and little league baseball. Dad was always
assistant scoutmaster or scoutmaster or assistant
Manager or a manager. Dad was an auto mechanic who
instilled in us an ethic to work hard for what you
want. I went to EOP pharmacy school, graduating in
1972, and Larry Followed after his military service
and graduated from EOP pharmacy school in 1977.
While in pharmacy school, Larry met a classmate who
was selling real estate. Larry kind of took it up
as a sideline. He worked for (indiscernible) and
when he graduated, he worked at a pharmacy and the
real estate, eventually meeting Karen and getting
involved through the reality. ‘Karen and Larry were
married. They had three children, owned their own
business, owned a nice home, and they earned it all
on their own hard work they had to achieve to get
there. This all changed when a lying cheater,

Mr. Mackey, motivated by greed and personal gain,

personal recognition, brought the holocaust to our

family. The perpetrator was James Mackey. The
Crime was heinous, repulsive, planned. The result
of the holocaust -- or this holocaust was terrible
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devastation. My dad was a man of purpose and
pride. Eight years in the army and navy from 1937
to 1945 guided him. He survived a lot of battled
and outlived a lot of men who died around him. Dad
was never the same after this. He never said
anything was wrong. He just no longer had a spring
in his step. I've only seen my dad cry once, at
{(inaudibie). I saw him cry a second time when he
handed me the apology letter from James Mackey.
James, you sent my dad --

PRESIDING COMMISSIONER WELCH: Excuse me,
sir. Hold on. No. You (inaudible). We’ll give
you the opportunity to finish your letter, but you
have to address the Panel, not the inmate.

MR. CARNEGIE: I’m sorry.

PRESIDING COMMISSIONER WELCH: Okay.

MR. CARNEGIE: I read the letter, and dad
asked -- He handed me this apology letter which
James had written. I read the letter, and my dad
asked, why would someone write this crap. I said
someone, an attorney or an inmate advocate, told
him it would look good in his file. When dad says,
he says he would not have killed Larry if he knew
he had three children. And I said, well, Dad, he
knew he had three children because they’ve met.

And what he didn’t say was he would have killed

somebody with no children. Dad said, well, you’re
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right. I said the only thing he’s sorry for, Dad,
is he’s sorry his luck is so bad that he got
caught. Somebody drove into the crime scene. That
upset the apple cart. There were actually two,
another homicide planned. There would have been
two deaths. Adrian Farley who is here today was on
that hit list, not just Larry. If that lady hadn’t
driven into the crime scene, John Farley would be
dead also and maybe someone else, too, because
success breeds success, I told dad to notice that
he wouldn’t -- that he never said he would not kill
anyone. My dad asked, what does this mean. Why
would he write this. Io said, well, it means he’s
washed his hands of it, Dad. He’s sorry, and

you're going to have to get over it, hecause you’ re

not to blame because you can’t forgive him. He’s
(indiscernible) his guilt. ft’s your fault, Dad,
not his. He feels better now. So touch shit, Dad.

“My dad passed away a tormented man.

(Indiscernible) step. And I can’t even pul into
words the damage done. Karen and the girls
struggled terribly. And I remember Renee, age
three at the time, and we were at the house. This

was probably just a few days after this holocaust.
Karen had just spoken to the girls. This was
probably after a couple days when finally there had

to do some sort of announcement as to why -~* where
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Larry wasn’t. And Renee, age three at the time,
walks’ into the living room full of adults and
announcing to all of us -- There was probably 10 or
12 in the room, announcing to us, my daddy's gone
away. My daddy is dead. My daddy is never coming
back. There were --

PRESIDING COMMISSIONER WELCH: Would you
like a short break, Sir, -

MR. CARNEGIE: No.

PRESIDING COMMISSIONER WELCH: -- to
recompose yourself?

MR. CARNEGIE: No. There were 10 or 12
adults in the room. And there was just
simultaneously choking back of the tears. Another
adult, usually a relative, had to stay with Karen
for many months. Karen just Lived in fear until
the trial kind of moved a little bit forward. she
moved three or four times, each time installing
expensive alarm systems out of fear, living in
fear. Karen eventually gave. up her reality and
entire client list, you know, real estate, and had
moved to where her parents lived who could provide
the additional support. And the saddest part of
this is three kids were robbed of a very loving
father. At Andrea’s high school graduation, Larry

-- I thought about Larry. And what I thought about

was that he could actually -- he could see it. But
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I couldn’t see the pride in his eyes. James Mackey
made all the free choices in the satanic acts that
he performed. These choices did not bother ham.

He responds by shifting the blame to others.
(Indiscernible). He purchased the weapon,

(indiscernible) pulled the trigger, beat the

victim. On the autopsy report, page four, it says,
larry has no cuts or scratches. (Inaudible) on his
hands, forearms, or arms (inaudible), none. Do you

know what that means, because he got beaten up.
His face had a convoluted fracture in the nose and
the jaw. Do you know what that means. Larry
couldn’t get his hands up to defend himself. He
beat the shit out of a guy who couldn’t defend
himself. James Mackey lied to us -- Well, let’s
see. James beat the victim, drove the get-away
car, and pulled on the end of the rope. James

Mackey lied to his wife. He married her because he

‘was a lowlife gold digger. Lied to his pregnant

wife when quizzed about the crime and where he was.
He lied to his wife when he flew to Mexico with his
girlfriend a few days later. He lied to the DA for
the plea pargain. And it’s just lies,’ lies, lies.
These lies allowed another co-conspirator to go
free. The lies cost the taxpayers of California
millions of dollars in legal fees. These Lies

increased the pain for the survivor. This crime
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should have resulted in Mr. Mackey’s execution. In
fact, after 15 years on death row, today we could
be enjcying watching him, knowing that he would be
on his way to hell. James could not have been
executed enough times, slowly enough to begin to
retribute his crimes and damages. He’s intently
motivated by his personal gain and will stop at
nothing to achieve that. He can never be released
beyond these walls. These prison wails separate
those instilled with goodness on the outside from
those filled with evil and coldness of Satan.

These walls, like the Great Wall of China, keep the
predators out, the Huns, the Mongols, etceteras,
from killing everybody. Now they are corralled in
this institution. There’s a story, and it was
(indiscernible) about an airplane crash not 10
years ago. These two computer geeks working one
Sunday morning at 6:30 in the morning at the end of
a runway in one of the buildings. Near planes are
taking off. And we hear the engines going. And
all of a sudden one of the engines kind of revs and
it guits. And then they here a horrific crash.

And the two geeks look up from their work where
they are, and look outside, and this plane is on
fire about 100 years away up the runway. There was.
nobody around, no one to help. The two guys look

at that, the grab their jackets and blankets, and
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they run across the runway because they could see a
guy sitting inside that cockpit. They crawl like
lizards up to plane, help the guy unbuckle his
seatbelt because he was holding his own weight
there, got him out of there, got about 100 yards -~
tI mean 100 feet from the plane. The plane explodes
into flames. And he would have been killed. And
they’re showered with all of the debris and
everything. And they miraculously only received
like second-degree burns. The two geeks were
interviewed by the newspaper afterwards and asked

them, why did you do that, because it was so

dangerous. And he said, we couldn’t stand and
watch him die. We couldn’t stand there and watch
him die. That’s why there’s these walls. The

people in this institution here are different than
the people outside the institution. The people
outside love life. The people on the inside don’t

give a damn.

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PRESIDING COMMISSIONER WELCH: Okay.
Lhere another -~ Is there someone else?

MS. B. CARNEGIE: Yes.

PRESIDING COMMISSIONER WELCH: Okay.

MS. B. CARNEGIE: There’s also a videotape.

PRESIDING COMMISSTONER WELCH: We have the
videotape. We need your statement at this time.

[Thereupon, the tape was turned Over. ]
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DEPUTY COMMISSIONER DININNI: Back on the
record.

PRESIDING COMMISSIONER WELCH: Just state
your name and go anead and make your statement.

MS. B. CARNEGIE: My name is Barbara
Carnegie, and I’m tne sister of Larry. You ought
to know what he looks like, a beautiful young man
who didn’t deserve this. I also have two letters
that I was told to hand delivery to you. One is
from Dario Farmer, assembly majority leader, and
one is from the mayor of Burbank in opposition of
any parole.

ATTORNEY MONTGOMERY: And I would object.
I’ve not been provided with copies of these letters
pursuant to the 10-day rule.

PRESIDING COMMISSIONER WELCH: Okay. T’ ail
get you copies of it.

MS. B. CARNEGIE: James Mackey is a total
freakish monster. He is a true Jekyll and Hyde
personality. To some people in his life, like
apparently many of the people in this prison, he’s
charming, personable, helpful, what a great guy.
But to my brother and a slew of others that he left
in the dust, he’s an opportunist, a liar, a
manipulator, calculating murderer, an ambusher, .a
leader and recruiter of a death squad. He is a

cold, callous, evil sociopath. The brutal murder
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of my brother was no accident, no fluke, no
mistake, no little error of judgment, no it
happened so fast kind of thing, no well, 2 didn’t
Know what I was doing kind of thing, no I was
manipulated into it kind of thing. It involved
months of planning, calculation, recruiting people,
months of plotting to determine what weapon to use
and where to dispose of the bedy, months of
practicing with the weapon, months of lies to
virtually everyone in his Life, months of
salivating over what his reward would be from his
great rich hope Michael Blatt. All of it was
orchestrated, directed, and master-planned by James
Mackey, not Michael Blatt. James Mackey. Tt was
an intentional, deliberate act. It was exactly
what he intended to accomplish, except for getting
caught. And he wasn’t planning just one murder.

As my brother said, he was planning two at the same

time. This was one of the most heinous types of
murder that could ever occur. Larry was 4
completely innocent victim. He didn’t know James

Mackey. And James Mackey really didn’t know hin,
other than seeing him in the office. But they
didn’t know each other as people. Larry didn’t do
anything to James Mackey. Larry didn’t do anything
to Michael Blatt. All he was trying to do was get

the real estate commissions owed to hin. Everybody
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wants to get paid for their work. Larry's a
regular guy, just like you guys, doing his job,
working hard, trying to make a living, trying to
enjoy his three beautiful Jittle kids. Yet he was
stalked, lured, ambushed, beaten, double killed,
and tossed on a trash heap by this disgusting, |
blood-on-his-hands psycho. I’ve read his version
of the crime that he wrote in preparation for this
hearing. And it’s an offensive pile of rot, not
unlike himself. However, it shows his true inner
pathological self, because he artfully uses all the
same creepy traits that he’s used all his life in
trying to manipulate you to get what he wants,
which is to get out of this prison. So I’m going
to briefly go through it. First of all, the whole
tone of the statement is poor me. = was done wrong
by my great rich hope. But Mackey clearly states
Many people warned me to be careful of Blatt, that
he was a user. He offered me a job, which I
declined, because T had seen the way he treated
people. He knew it. Mackey, unlike my brother,
was forewarned that Blatt used and treated people
badly. A normal person would have heeded those
warnings and stayed away from Blatt. But Mackey
had enormous ambition. And this is something that
I noticed he didn’t state here. You know, why did

you do this... My ambition. I didn’t want to work.
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T wanted what Blatt had, but I didn’t want to have

to work for it. Tt was way in excess of his actual
talent and morality. He saw Blatt as a way to
achieve his own ambiticns. So he explored Blatt
for his benefit. He cozied up to Blatt, so he
could use Blatt. He states, “After graduating, T

was feeling totally lost, so I married my
girlfriend.” He had a free scholarship, which my
brothers paid for on their own. He had a free
scholarship to one of the most elite universities
in. the world. He was among the top 10 percent of
the people in the whole world. Normal graduates
they interviewed, get an entry-level job, they
work, work, work their way up the Ladder. Not him.
He was, I was feeling lost. He was plotting,
planning, calculating how he could get rich and not
have to work for it. That’s why he married his
first wife Sharon Gabber, the daughter of a wealthy
family. He didn’t love ner. He states in one of
the reports, well, her mother died just before I
was going to break up with her. Well, so I married
her. It wasn’t because her mother died that.he
married Sharon, it was because of Sharon’s money.
He had many girifriends during this marriage. He
didn’t care about the child she was carrying at the
time of the murder. I think she was five or six

months pregnant. He exploited her and her money
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and then left her in the dust. He later says, “My

wife inherited some money, so [I went to Blatt for
advice. This is the same Blatt that used people.
Sc he goes to this guy that uses people, that

beople had warned him about, and he goes and asks

him for advice. Where other people would have run,
he cozies up to them. Tt wasn’t Blatt cozying up
to Mackey. Blatt wasn’t searching Mackey out. Tt

was Mackey searching Blatt. Blatt had the money.
Blatt had the stuff that Mackey wanted. So now
Mackey’s going to get this incredible deal from the
guy that so many people had warned him about. And
they’ re going to play a Little game with the price,
so that Mackey can buy this condo. And Mackey
knows all about Blatt’s reputation. And as a
licensed real estate agent, Mackey knows that this
Financial chicanery 18S wrong. But he doesn’t care.
It shows the lengths he’s willing to go to succeed
without really trying. I mean his own real estate
career was an abject failure. He made his biggest
commission off the sale of his own house, a house
paid for with sharon Gabber’s money. He talks of
approaching several banks about loans for this
condo. He doesn’t tell you that he lied on every
application, every document he ever filled out
about his income.

ATTORNEY MONTGOMERY: I’m going to object,
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Commissioner. Those are facts not in evidence.
This is information -- the individual speaking is
not under oath. The Board is required to consider
reliable and relevant information, and that is
neither reliabie or relevant.

MS. B. CARNEGIE: The defense attorney --

PRESIDING COMMISSIONER WELCH: Okay. Hold
on just a second, ma’am. I have to rule on the
attorney’s objection. I'm going to overrule your
objection, because the Board is totally capabie of
deciphering through what’s presented at the
hearing, and we will make a discrimination as to

the weight that we will give any given amount of

information that’s given. So we're going to
overrule your objection. And now will you please
proceed.

MS. B. CARNEGIE: Okay. So following from
that, the defense attorneys at the Blatt trial had

a field day pulling out document after document in

which Mackey lied under penalty of perjury. That
was their whole defense. You can’t believe this
guy, because look at this lie. Look at this lie.

Look at this lie. Look at this lie. I don’t have
the documents to be able to read it to you.
Perhaps Mr. Blansett can. But that was the whole
point of their defense. Their whole defense was

the guy is a big liar. And that is in evidence.
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Maybe not here, but it’s in evidence in the trial
documents. He states,

“T finally said the words Blatt had

been waiting for. 1 wanted Blatt to

believe that I was dependable,

someone who got things done. But I

was too naive to recognize the smile

of satisfaction on his face, but I

see it clearly now.”
This is all part of the, it wasn’t my fault. It
was Blatt’s fault. And oh, by the way, it was
Larry’s fault, too, because I couldn’t buy that
condo because of Larry. Since Mackey seems to have
known that Blatt was waiting for some magic words
to be said, and Mackey seems’ to have known what
those magic words were, then Mackey knew just what
kind of person he was dealing with. He continued
to have contact with Blatt despite ali the
warnings. Mackey went in with his eyes wide open
and mouth salivating. . He saw the opportunity to
score with Michael Blatt and be handsomely rewarded
for it. Mackey jumped at this opportunity. He
never ever backed away. He was going to get his
condo, and he was going to get to blackmail Blatt
for the rest of Blatt’s life. Throughout all of
this, Mackey is in total control of his destiny.

He’s not being threatened. He’s not being
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tortured. He’s not being provoked in any manner.
So at this point he starts, of his own accord,
thinking and plotting to put together his little
death squad, because ne doesn’t want to get his
hands dirty, because he wants to be Michael Blatt.
He wants to be the big cheese. So he recruits Carl
Hancock, his suppesedly good friend and tells that
he’1ll pay him 15,000 dollars. This is Mackey
plotting and calculating. Blatt never said what he
was. going to pay Mackey. This is a number Mackey
chose that was large enough to lure Carl to get him
to do this. Mackey’s trying to get Carl to do the
dirty work. It’s Mackey that plans the murder.
Mackey that thinks about the entire process,
calculated, well, where can we do this so there’s

no witnesses, and finds this: little farmhouse out

in the deserted area of Lodi with no lights anyway. -

Mackey that thinks, well, what kind of weapon.

Well, I need something silent. He tries -- He

doesn’t tell you, -he tries to buy a silencer, but

he couldn’t get it. So then he settles for the
crossbow. And then, well, why not buy it in
Stockton. No, I’ll go buy it in Modesto because.

the further away I am, they won’t remember me.
Always he -- And then he’s, well, I never used a
crossbow, so I better go practice. So he’s always

thinking, thinking, thinking. There’s many ways to
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kill a person, but he, Mackey, thought out all the
angles himself. Mackey makes out later like, on, I
was scared. I was scared at the murder site that
Blatt would be upset that it wasn’t done, and that
Blatt would get someone else to do it. So what.
Mackey’s such a master liar. He lied to everyone
in his life. He even lied to Blatt about going to
Phoenix. He was Supposed to go to Phoenix to
supposedly hook up with the people that he hired LO
murder. Instead he took the 3,000 dollars and went
to Phoenix with his girlfriend to see a basketball
game. He lied. He could have just told Blatt, you
know, I can’t find anybody. But he doesn't want to
do that, because the reward is there. He doesn’t
want anyone else to get the reward that he’s
expecting to get from Blatt. He’s not thinking
about anybody’s life but his own, just his own. . He

states that while he laid in ambush, well, I was

trying to talk myself out of what I was doing. IT
was terrified. He never told the police that.
That’s another self-serving lie. In fact, he told

Probation Officer Fernandez, it’s on page five of
the pre-sentencing report, Mackey became impatient
and feared that the murder would not be
accomplished. That’s not a guy that’s afraid.
That’s a guy that’s like, we've got to get it done.

Let’s get it done. Let’s get going. He created
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the whole situation. And at any point he could
have walked away unscathed. He states, a car

pulled in shining its lights cnto the entire sad

Situation. You’ve got to be kidding me. He
created the situation. He didn’t reveal one iota
of human compassion for my brother. Instead, he

had the presence of mind to think on the run,
because now this car has pulled in the driveway.
Now they’re not going to be able to drive to Tahoe.
And he comes up with an alternate plan for
disposing of the body on the run. Now the really

big lie that he didn’t -- that he had never pulled

the rope. And we’ve addressed it with my brother

and Mr. Blansett, but I have his exact words at

trial. Sorry. One second. Question, “What

happened then.” Answer, this is James Mackey at

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trial,
“Carl said he needed help. So I got
out, and I stood next to the car.
Carl went around the trunk, and I
just stood there. And he came around
to my side of the car and handed me
the rope and said, pull. And he went
back around to the trunk, and I
pulled.”
Hancock’s testimony. Hancock’s words. “We put it

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around -- It meaning rope, “-- around his neck.and
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both of us pulled it.”

ATTORNEY MONTGOMERY: Again, Commissioner,
wo don’t have any of those documents, and T don’t
know what the Board is going to do in ascertaining
the authenticity and the reliability of the
documents relied upon.

PRESIDING COMMISSIONER WELCH: And again,
Counsel, we will permit the victim’s statement --
we'll give her latitude. However, ma’am, we would
like for you to go ahead and wrap up your statement
if you would, please.

MS. B. CARNEGIE: Okay. That’s from the

Superior Court reporter’s statements. I have a
complete trial document. That’s in the trial
document. And you could have gotten that at any
point in time. All throughout his statement are

all latter-day fiction, intended to make poor James
look like the victim, to make it look like Larry
was the one that hindered him. To make it -- And
even sitting here like James has a conscience.

Like well, I really didn’t want to.do it. Well, I
wasn’t much of participant. All the reluctance,
it’s all baloney. He completely admits a
description of how much blood, my brother’s blood,
was all over him, all over the car. He admits
cleaning up the car inside and out, washing Larry’s

blood off of his freaking body. Again, for this
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Board, minimizing his actions. He claims he agreed
to cooperate with detectives, but he didn’t. He
tried to implicate his cousin John Holms instead.
He tried tc make it appear he was cooperating, but
he was trying to save his own hide all along and
sabotage efforts to implicate Michael Blatt,
because Blatt might reveal it was Mackey who
planned and arranged it. He told the psychologist
on 11/17/04 in the report that Hancock performed
the final strangulation. Not true. That’s a lie
to the psychologist, as late as four or five months
ago. Also he told the psychologist that he was
going to pass the murder fee on to Hancock. That’ s
not true. Hancock didn’t get anything. Mackey got
the money. Mackey got 5,000 of Blatt’s money that
we know about, three thousand to go to Phoenix, and
two thousand to go to Mexico. I noted all the
little laudatories in his file. So what. That's

no different from his life before he murdered

Larry. The little programs. So what. He
graduated from college before the murder. The
letters from the family. So what. They said the
same things before he confessed to the murder. The
lying. The (indiscernible), the manipulating,

same, same, same, same, same now, same now, same in
November, same at this table. The stark ugly truth

is that this creepy freak sitting here with his
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smarmy smile murdered my brother with his own
hands, got my brother’s blood all over him, heard
my brother say, help me. I’ve been shot. Looked
into my brother’s beautiful blue eyes and heard my
brother say, you’re fucked, and continued unphased,
undeterred, unmoved on his merry murdering mission.
My brother would be 54 years old today. You look
somewhere about that age, Sir. You have a lot of
life ahead of you. Well, so did Larry. James
Mackey has no write to live the life he took from
Larry. He forfeited his right to be in decent
society. A sentence of 25 years to life doesn’t
mean 16 years. And that contract was ca contract
between the District Attorney and Mackey. It was
not a contract for 16 years. Tt was a contract to
write a letter recommending parole, just that T’ 11

write the letter recommending parole, but not a

contract that you get out at 16. Otherwise, why
sentence him to 25 years to life. “Doesn’t even
make sense. My brother is the one that got the

life sentence six feet under, our whole family.
And that is what James Mackey deserves. He did it.
We didn’t do it to him. He did it to us. I oppose
any parole wnatsoever for this evil freak. Thank
you for letting me speak.

PRESIDING COMMISSIONER WELCH: Okay. Thank

you. Okay. We have a vidotape. Yes, go ahead.
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Let’s play the videotape for the record, please.
Can you turn it up. Could you start it over again,
and turn it up as loud as it can. Is there any way
we can put it up here close to a mike?

DEPUTY COMMISSIONER DININNI: Let’s see how
far it goes. That’s about it.

PRESIDING COMMISSIONER WELCH: Is there a

long enough cord to set that over here? All right.

Thank you.

[VIDEOTAPE: MS. R. CARNEGIE]: My name is
Rita Carnegie. I’m reading the statement I wrote
because JI feel too emotional otherwise, Today’s

date is Tuesday, February the pst, 2005. This
statement is regarding the parole hearing scheduled
for March 10, 2005, for James Mackey, CDC number
E-76532. However, as I’m now 85 years old, my
husband is now deceased, and t don’t know if I’11
be able to make future statements. But I direct
that this statement be submitted for any hearing
whatsoever, including for Carl Hancock and Michael
Blatt, having to do with the vicious killing of my
son Lawrence John Carnegie who was murdered
February the 28", 1989, This person, James

Mackey, deliberately set out to murder my son.
Mackey planned the murder, stalked my son, bought a
crossbow, practiced to use is it, set up an

appointment at a certain time and place to meet my
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son. He laid in wait while his partner did all of
the above. Carl Hancock got my son into position
For him to shoot larry, and then he snot my son.
James Mackey broke my son, broke his nose, and as
my son’s life (indiscernible) away, stuff him
(inaudible) ina sleeping bag, tossed in a dark
(inaudible) trunk. And when he thought my son
wasn’t dead enough, he put a rope around my boy's
neck. And with Carl Hancock pulling on the other
end, they strangied him. Then he tossed my son
down into a trash heap. Larry was a good and
decent man. He was 38 years old. He owned his: own
home and his own business. He was married. He had
three younger daughters. He honorably served our
country in the National Guard. He put himself
through and graduated from the University of
Pacific pharmacy school. My son worked hard for
everything he had. They took all (indiscernible)
big hugs and kisses and smiles from his father and
me. This was a premeditated capital offense, for
which James Mackey should have been executed. My
son did nothing, nothing to James Mackey. By his
own free will, by his own personal choice, Mackey
(indiscernible) my son’s life. I oppose and object
to any parole for James Mackey. He should return
and remain in prison for the rest of his life.

PRESIDING COMMISSIONER WELCH: Thank you.
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Okay. Yes.

ATTORNEY MONTGOMERY: Commissioner, I know
we don’t primarily do this. Would it be possible
for my client to make one brief statement not
directed at anybody but the Panel members in
regards to an aspect of the commitment offense?

PRESIDING COMMISSIONER WELCH: Normally we
don’t do that. Once the victims make their
statements, that’s -- they’re the last ones to
speak. So at this point, I think it’s best that we
follow our regular procedures as the victims have
the last comments. Okay. Was that it?

ATTORNEY MONTGOMERY: Yes.

PRESIDING COMMISSIONER WELCH: Okay. Pardon
me? Okay. We’ll take a recess. And Mr. Mackey,
we’il.let you know our decision.

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CALIFORNIA BOARD OF PRISON TERMS
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DEPUTY COMMISSIONER DININNTI: Back on
record.

PRESIDING COMMISSIONER WELCH: Okay.
Mr. Mackey, we have a decision. The Panel reviewed
all information received from the public and relied
on the following circumstances in’ concluding that
the prisoner is not suitable for parole and would
pose an unreasonable risk of danger to saciety or a

threat to public safety if released from prison.

Now Mr. Mackey, this is an initial hearing. This
-is going to be a four-year denial. And T’li try to
articulate to you why as lI go through this. One,

the offense was carried out in an especially cruel
and callous manner. We’ re talking about cruel and
callous. You conspired to buy a crossbow. You
knew the victim. You Lured him to an area, and you
waited for him, and you shot him. ‘The offense was
carried out ina dispassionate and calculated
manner. This was really like an execution style
murder. Certainly there’s indication that the
victim was abused, indicate that he was not dead
when you shot him with the crossbow and then you
stuck him in a trunk. So therefore we say he was
abused, indication that you put a rope around his

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neck (indiscernible) your crime partner. Certainly
that’s abuse. The offense was carried out ina
manner that demonstrates a total an exceptionally
callous disregard for another human being. And the
motive for the crime was inexplicablic or very
trivial on relationship to the offense. And when
we gave you an opportunity to articulate the motive
for the crime, it was just a very trivial matter to
kill a person for real estate or for financial
gain. I mean that’s just very trivial, especially
when we take into consideration your education,
your potential for (indiscernible). Tt was just
really trivial. The conclusion was drawn from the
Statement of Facts wherein on 2/28/1989 deputies
from San Joaquin County was dispatched to a
residence on Tokay Colony Road in Lodi. And there
was indication that a person had been assaulted.
When he arrived, they only found a bloody sleeping
bag. The circumstances around the offense is that

you and your crime partner waited, and the victim,

Mr. Carnegie, showed up. He was shot. He was
placed in a car. He was taken someplace off of
High 101, and his body -- and he was basically
killed, and his body was disposed of. Here’s one

of the more complexing things about this crime is

that there was no indication about your violence,

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that you had the propensity to commit such a crime.
You didn’t have any juvenile record. There’s no
indication that you had an adult record. And for
you to even --~ And for you to conceive a crime like
this, and more yet to think you could get away with
something like this, that you Was willing to take
another human being’s life. And we look at your
social factors. Quite candidly, you explanation of
your social factors that led to this just doesn’t
make any sense to me. I don’t see how what you
described to me about being a loner and keeping
everything would cause a man that had no prior
juvenile record, that. was an athlete, that was
pampered more than likely through your high school
athletic program and through college. Athletes are
a pampered bunch. But I don’t see anything in your
social history that would indicate what caused you
to do this. And I’m not -- And I guess another
reason for the four-year denial, it just doesn’t
appear that you have a lot of insight in what would
cause you to do such a thing. Your programming in
prison, you've made some (indiscernible).

Certainly your programming has been positive.
You've only received one 115, and we encourage you
to pecome disciplinary-free. Another compelling
reason for a four-year denial is the psychological

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evaluation. The coctors still see you as a medium
threat to community if you were reieased. And we
are requesting a new psychological evaluation. And

your attorney pointed out that a lot of the
information was taken from the Board Report. We
are requesting that a personal interview be
conducted with you at your next psychological
evaluation. Be that as it may, -but when we looked
at the psychological evaluation, overall, it
appears to be a good psychological evaluation in

terms of the effort that the psychologist put into

it. But from our prospective, still a medium risk
of danger to the community is still high. Tf you
Look at a high, low, and ~- And if you take into

consideration your testimony today, you really

don’t have a clue why you did this, other than for

money. And so that was another compelling reason
for the four-year denial. Now your parole plans,
you have realistic parole plans. Don’t have a
problem with your parole plans. You should -- And

your educational level should (indiscernible)
vocation that you’re receiving marks in
refrigeration. That’s certainly in your favor.
However, on the other hand, you had a BA degree,
and you were employable then. So certainly having
marketable skills at the time did not deter you,

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but you haven’t had (indiscernible) since you've
been in prison. And we want to give you some
accolades for that. The Hearing Panei notes that
in response to Penal Code 3042 notices indicate an
opposition of a finding of suitability. The Deputy
District Attorney -- Are you the District Attorney?

DEPUTY DISTRICT ATTORNEY BLANSETT: Deputy
District Attorney.

PRESIDING COMMISSIONER WELCH: I want to
make sure I got it right.

DEPUTY DISTRICT ATTORNEY BLANSETT: Thank
you.

PRESIDING COMMISSIONER WELCH: The Deputy
District Attorney from Tulare County —--

DEPUTY DISTRICT ATTORNEY BLANSETT: San

Joaquin. {t’s all right. They all sound alike

after a while.

PRESIDING COMMISSIONER WELCH: The cases
begin to run together. From San Joaquin County
appeared today and actually he did not present an
objection. He was neutral. He just appeared as an
observer basically. So he didn’t voice his opinion
in terms of your suitability one way or the other
from what I gathered from speaking to him. Is that
correct?

DEPUTY DISTRICT ATTORNEY BLANSETT: Yes.

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PRESIDING COMMISSIONER WELCH: Okay. And we
have victims. We have at least three victims spoke
today, plus the video taped from the victim’s
mother. All spoke in opposition to a finding of
suitability at this time. the Panel makes the
following findings: We find that the biggest thing
that you’ re going to have to do, we find that you
need to develop insight into the crimes that you
committed, that you need to involve yourself in

positive kinds of programs, self-help, victim

awareness programs. Victim awareness program is a
really (indiscernible). To know how your crime

impacted the lives of people. And know how a crime
in general affects the lives of victims. That’s a

really important program for you to get into if you
can possibly get into it. Another thing, in your
testimony you testified that you were stone cold
sober when you committed this crime, that you
cannot blame it’ on alcohol or anything else. So
we’re not going to recommend you’re involvement in
such programs as Alcoholics Anonymous or other type
of substance abuse programs. But for a person to
be stone sober and to commit a crime like that, it
is really mind-boggling when we look at your prior
criminal history. Until enough progress is made,
the prisoner continues to be unpredictable and a

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threat to others. Nevertheless, there is just an
array of things we need to commend you for. Not
the least of is your behavior in prison. With the

exception of the one 115, you have been & good

prisoner. And we want to give you some accolades
for that. You have participated in an array of
self-help programs. Just to mention a few, 40 Days

of Purpose Bible study, Breaking the Cycle,
supernatural ministries, the Four Agreements, House
of Healing, communication styles and skills, Great
Truth of the Bible, understanding your feelings.

So you participated in self-help programs.

However, those positive aspects of your behavior at
this time does not outweigh the factors of
unsuitability -~- of suitability. So we are going
to deny your parole for four years. And one of the
reasons is the crime. ‘This was just an awful,
awful crime. The crime was carried out in an-
especially cruel and callous manner. So ina
separated decision, the Hearing Panel finds that it
is not reasonable to expect that parole would be
granted at a hearing during the following four
years. One was the crime. The crime that you
committed is a type of crime that shocks the
conscience of the community. Tt would cause people

to stop and pause and wonder about their own safety

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in the community or the people that they work with,
other people that’s working next to them. The
offense was carried out in a dispassionate, and

there’s no getting around it, it was calculated.

You had lots of time to think about this crime. Tt
was a calculated crime. And certainly there is no
argument that the victim was abused. And based on

your own testimony today, the victim was still
alive, and he was stuffed into a trunk and he was
beaten to ensure that he was dead. The offense was
carried out in a manner that showed a total callous
disregard for another human being. And the motive
for the crime is inexplicable, and as I previously
mentioned, it was trivial. Recent psychological
evaluation was not a particularly supportive
evaluation at this time in terms of your release.
Tt indicates a longer period of observation and
evaluation before you shall be found suitable for
parole. The prisoner has not completed the
necessary programming which is essential to his
adjustment. So you need to continue to participate
in self-help programs. I think I articulated a few
of them to you, Victim Awareness and other kinds of
programs, anger management. But you didn’t even
mention that you were angry when you committed this

crime with the individual. It was basically for

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crime. Self-control is certainly a program that
you should involve yourself in. Therefore, a
longer period of observation and evaluation of the
prisoner 1s required before the Board shall. find
that you’re suitable for parole. Here’s what the
Panel’s is recommending, that you remain
disciplinary-free, that you continue to participate
an self-help programs to intensify your effort in
that area, and that you cooperate with the
clinician in completing a new psychological
evaluation. We're going to ask the clinician to
Look at your violence potential in the free
community, significance of alcohol and drugs as it
relates to the commitment offense, the extent to
which you have explored the commitment offense and
come’ to terms with the causative factors. “and I
think that’s a biggy from my perspective. It’s
just one Commissioner speaking is that you need to
develop insight, the extent that you have explored

the crime and come to terms with the causative

factors, whatever they were. And maybe it was just
- greed in your case. But you realiy need to come to
terms with -- Excuse me. I’m losing my voice.

That concludes the reading of the decision.
Commissioner, do you have any comments for the
prisoner?

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DEPUTY COMMISSIONER DININNI: I wanted to-
commend you for your completion of the
refrigeration program and heating. That is a very
good field, very employable field. Ana also I want
to commend you for your participation in OP, ox
Enhanced Outpatient Program. Those are the most
severely ill inmates -- mentally ill inmates we
have. And any help they can get is very important.
It’s a terrible crime. You orchestrated that
crime. That will never change. Let me be clear
about that. The period of time since that crime
occurred is very short in my mind. And I wish you
the best of luck. t hope you keep doing what
you're doing as far as your incarceration goes.
That one 115 is only administrative for horse
playing. That's very, very good. And I know how
hard that is to do. I’ve spent 20 years working
inside. So I know how that goes. So good luck to
you, sir.

PRESIDING COMMISSIONER WELCH: Okay. We did
review the two letters that were submitted.
However, we didn’t read them into the record
because Counsel objected via the 10-day rule. We
will include these in the prisoner’s file and ask
that they be placed in the C-File so they can be

used at your next hearing. But we did take a look

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at these two letters that were submitted. One was
From Romas, the mayor of Burbank. The city of
Burbank. And the other one is from the Farmers,
(inaudible) majority leader in the assembly, fourth
—-- third -- fourth and third districts. We took a
Look at those. And we’ll have them included. Yes,
ma’am.

ATTORNEY MONTGOMERY : I have a question.
You indicated you’d like him to be involved in a
victim awareness program.

PRESIDING COMMISSIONER WELCH: If possible.

ATTORNEY MONTGOMERY: Do you happen to know
of one at Mule Creek?

PRESIDING COMMISSIONER WELCH: No, I don’t.
I don't know if they have them over here or not,
but T will certainly encourage him to explore and
to find out if they do. And if they do, I would
encourage him to get involved in that.

ATTORNEY MONTGOMERY: | Okay.

PRESIDING COMMISSIONER WELCH: But I don’t
know if they have them over here or not. Maybe
your client ~~ Do you know if there’s a victim
awareness program here?

INMATE MACKEY: Not that I know about, no.

PRESIDING COMMISSIONER WELCH: Okay.

ATTORNEY MONTGOMERY: The other thing,

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Commissioner, you indicated you: wanted the
psychologist to address the significance of alcohol
and drugs in the commitment offense.

PRESIDING COMMISSIONER WELCH: I just want
him to take a look at it. As I’ve previously
stated, and even as your client testified, he was
sober, and he had no problems with alcohol.

DEPUTY COMMISSTONER DININNI: Most important
PRESIDING COMMISSIONER WELCH: But certainly

DEPUTY COMMISSIONER DININNI: -- is we ask
for a personal interview about the life crime,
because as you stated, it sounds like -- because
there was a two and a half hour personal interview
noted in the report. so what they talked about, I
don’t know. But per your statement we ask that
they speak of the life crime --

ATTORNEY MONTGOMERY: Thank you.

DEPUTY COMMISSIONER DININNI: -- to give
your client an opportunity.

PRESIDING COMMISSIONER WELCH: But certainly
one of the factors I would like for them to look at
is to explore with your client whether he had a
problem with alcohol or drugs. And he testified

today that he didn’t. But certainly I would like

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for him.to talk to the psychologist about it. But
I didn’t see anything in this. . But the point is,
dia I see anything in his record to indicate that
he had a problem with alcohol or drugs, I did not.

ATTORNEY MONTGOMERY: Okay. Thank you.

PRESIDING COMMISSIONER WELCH: Okay. All
right Good luck to you. The time is approximately
-~- what is it, 1420? Okay.

--o000--

PAROLE DENIED FOUR YEARS : WEP ed

THIS DECISION WILL BE FINAL ON:

YOU WILL BE PROMPTLY NOTIFIED IF, PRIOR TO THAT
DATE, THE DECISION IS MODIFIED.

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CERTIFICATE AND

DECLARATION OF TRANSCRIBER

IT, APRIL ALLEN, a duly designated
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hereby declare and certify under penalty of perjury
that IT have transcribed tape(s) which total one in
number and cover a total of pages numbered 1
through 136, and which recording was duly recorded
at MULE CREEK STATE PRISON, at IONE, CALIFORNIA, in
the matter of the INITIAL PAROLE CONSIDERATION
HEARING of JAMES MACKEY, CDC No. E-76532, on MAY 6,
2005, and that the foregoing pages constitute a
true, complete, and accurate transcription of the
aforementioned tape(s) to the best of my ability.

I hereby certify that I am a disinterested
party in the above-captioned matter and have no
interest in the outcome of the hearing.

Dated May 21, 2005, at Sacramento County,

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Ap#il Allen
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